Case: 3:19-cv-00082-MJN Doc #: 1-2 Filed: 03/20/19 Page: 1 of 1 PAGEID #: 17
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

JS44 (Rev. 02/19)

 

 

I. (a) PLAINTIFFS

Oberer Land Developers, Ltd.
Peter Rammel

(b) County of Residence of First Listed Plaintiff Montgomery
(EXCEPT IN U.S, PLAINTIFF CASES)

(co) Attorneys (Firm Name, Address, and Telephone Number)
Michael P. McNamee & Gregory B. O'Connor

McNamee & McNamee, PLL
2625 Commons Bivd., Beavercreek, OH 45431

DEFENDANTS

NOTE:
THE TRACT

Attorneys (if Known)

 

Sugarcreek Township, Ohio
Sugarcreek Township, Ohio, Board of Trustees

County of Residence of First Listed Defendant

Greene

(IN U.S, PLAINTIFF CASES ONLY)

OF LAND INVOLVED.

IN LAND CONDEMNATION CASES, USE THE LOCATION OF

 

II. BASIS OF JURISDICTION (Place an “Xx” in One Box Only)

 

(For Diversity Cases Only)

II. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiff

and One Box for Defendant)

 

 

 

 

 

 

 

1 US. Government 23 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State a1 © 1 Incorporated or Principal Place o4 o04
of Business In This State
O 2 U.S. Government O14 Diversity Citizen of Another State GO 2 © 2 Incorporated and Principal Place os5 05
Defendant (indicate Citizenship of Parties in Item I) of Business In Another State
Citizen or Subject of a 03 O 3 Foreign Nation o6 O06
Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only) Click here for: Nature of Suit Code Descriptions.
[ CONTRACT. TORTS FORFEITURE/PENALTY. BANKRUPTCY OTHER STATUTES. ]
CO 110 Insurance PERSONAL INJURY PERSONALINJURY |( 625 Drug Related Seizure O 422 Appeal 28 USC 158 O 375 False Claims Act
0 120 Marine 0 310 Airplane © 365 Personal Injury - of Property 21 USC 881 |0 423 Withdrawal O 376 Qui Tam (31 USC
O 130 Miller Act D 315 Airplane Product Product Liability O 690 Other 28 USC 157 3729(a))
0 140 Negotiable Instrument Liability CO 367 Health Care/ OC 400 State Reapportionment
CO} 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 6 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 0 820 Copyrights 0 430 Banks and Banking
© 151 Medicare Act 330 Federal Employers’ Product Liability 0 830 Patent O 450 Commerce
© 152 Recovery of Defaulted Liability ( 368 Asbestos Personal © 835 Patent - Abbreviated © 460 Deportation
Student Loans 0 340 Marine Injury Product New Drug Application |( 470 Racketeer Influenced and
(Excludes Veterans) (7 345 Marine Product Liability OO 840 Trademark Corrupt Organizations
© 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR SOCIAL SECURITY. © 480 Consumer Credit
of Veteran's Benefits O 350 Motor Vehicle O 370 Other Fraud 0 710 Fair Labor Standards O 86! HIA (1395ff) CO 485 Telephone Consumer
© 160 Stockholders’ Suits O 355 Motor Vehicle O 371 Truth in Lending Act 0 862 Black Lung (923) Protection Act
O 190 Other Contract Product Liability © 380 Other Personal 0 720 Labor/Management O 863 DIWC/DIWW (405(g2)) | 490 Cable/Sat TV
© 195 Contract Product Liability | 360 Other Personal Property Damage Relations 0 864 SSID Title XVI 0 850 Securities/Commodities/
0 196 Franchise Injury (7 385 Property Damage O 740 Railway Labor Act 0 865 RSI (405(g)) Exchange
O 362 Personal Injury - Product Liability O 751 Family and Medical OF 890 Other Statutory Actions
Medical Malpractice Leave Act O 891 Agricultural Acts
L REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS _|0 790 Other Labor Litigation FEDERAL TAX SUITS O 893 Environmental Matters

O 210 Land Condemnation

O 220 Foreclosure

O 230 Rent Lease & Ejectment
OG 240 Torts to Land

CO 245 Tort Product Liability
CO 290 All Other Real Property

& 440 Other Civil Rights

0 441 Voting

O 442 Employment

O 443 Housing/ Sentence
Accommodations O 530 General

O 445 Amer, w/Disabilities - | 535 Death Penalty
Employment Other:

O 446 Amer. w/Disabilities -| 540 Mandamus & Other
Other 0 550 Civil Rights

© 448 Education 0 555 Prison Condition

O 560 Civil Detainee -
Conditions of
Confinement

Habeas Corpus:
0 463 Alien Detainee
© 510 Motions to Vacate

 

 

 

O 791 Employee Retirement
Income Security Act

O 870 Taxes (U.S. Plaintiff
or Defendant)

OC 871 IRS—Third Party
26 USC 7609

 

 

IMMIGRATION

Re
© 462 Naturalization Application

O 465 Other Immigration
Actions

 

0 895 Freedom of Information
Act

0 896 Arbitration

© 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

CO 950 Constitutionality of
State Statutes

 

 

V. ORIGIN (Place an “x” in One Box Only)

M1 Original 112 Removed from
Proceeding State Court

O 3 Remanded from
Appellate Court

United States Constitution; 42
Brief description of cause:

VI. CAUSE OF ACTION

 

© 4 Reinstated or

Reopened

, et seq.

© 5 Transferred from

Another District
(specify)

Cite the U.S. Civil Statute under which you are filing (Do not cite re. statutes unless diversity):

.S.C, Sections 198

O 6 Multidistrict
Litigation -
Transfer

8 Multidistrict
Litigation -
Direct File

Violation of Plaintiff's due process & equal protection rights; taking of private property without just compensation

 

 

 

 

 

 

VII, REQUESTED IN [ CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. 5,000,000.00 JURY DEMAND: Yes GNo

VIII. RELATED CASE(S)
IF ANY (See instructions): JUDGE DOCKET NUMBER

DATE SIGN. ATTORI

03/20/2019 “ ]

FOR OFFICE USE ONLY e =

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
